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              IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION


NIKEMA WILLIAMS, Georgia
Senator, DEVIN BARRINGTON-
WARD, RICHARD BATHRICK,
SHANNON COFRIN CAGGERO,
RAYMOND (BEN) HARMS,
MARY HOOKS, PRISCILLA
SMITH, DESMOND TUCKER,
YOMARA VELEZ, and APRIL
ZACHARY,

      Plaintiffs,                       CIVIL ACTION FILE

V.                                      N0.1:20-CV-4012-MHC

COLIN POWELL, DARRIUS
MAGEE, JAMES WICKER,
JAMES WOBLE, JAVEN
ROBERSON, JEFFREY ROGERS,
JEREMIAH SLAY, JOSEPH
GOBLE, JUSTIN GOLDEN, KEVIN
HAWKINS, KYLE MCCLENDON,
and MATTHEW RAY, Defendants,
sued in their individual capacity and
in their official capacity as
Department of Public Safety
Officers,

      Defendants.


                                  ORDER
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      On August 20, 2021, this Court certified the following question to the

Supreme Court of Georgia: "Does O.C.G.A. § 16-11-34.1, in whole or in part,


violate Article I, Section I, Paragraphs V or IX (or any other provision) of the

Georgia Constitution?" Aug. 20, 2021, Order [Doc. 27] at 9. This Court stayed

this case pending the Supreme Court's opinion on the certified question. Id.

      On February 15, 2022, the Supreme Court of Georgia issued a decision that

declined to answer the certified question indicating that it may be anticipatory in

nature as questions of whether Defendants are entitled to qualified immunity and

whether O.C.G.A. § 16-11-34.1 violates the United States Constitution "could

make an answer to the certified question unnecessary." Williams v. Powell, No.


S22Q0097 (Ga. Sup. Ct. Feb. 15, 2022), slip. op. at 3-4.

      Based upon the decision of the Supreme Court of Georgia, this Court does
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not intend to seek further guidance from that Court at this time. Accordingly, it is

hereby ORDERED that this case be REOPENED.1

      IT IS SO ORDERED this / ^- day of November, 2022.




                                       MARK H. COHEN
                                       United States District Judge




1 Plaintiffs filed an Amended Complaint [Doc. 30] on September 14,2022. "An
amended pleading supersedes the former pleading; the original pleading is
abandoned by the amendment, and is no longer a part of the pleader's averments
against his adversary." Dresdner Bank, A.G. v. M/V Olympia Voyager, 463 F.3d
1210, 1215 (11th Cir. 2006) (internal punctuation and citation omitted).
Additionally, Defendants have filed a Motion to Dismiss the Amended Complaint
[Doc. 31]. Because Plaintiffs have amended their complaint (making the Amended
Complaint the operative complaint in this case), and Defendants have moved to
dismiss the Amended Complaint, Defendants' original Motion to Dismiss [Doc.
11] is hereby DENIED AS MOOT. See Gulf Coast Recycling, Inc. v. Johnson
Controls, Inc., No. 8:07-CV-2143-T-30TBM, 2008 WL 434880, at *1 (M.D. Fla.
Feb. 14, 2008) ("The filing of the amended complaint renders Defendants' earlier
filed Motion to Dismiss moot.").
